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                  7
                  8                       UNITED STATES DISTRICT COURT
                  9                     CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 MANWIN LICENSING                          CASE NO. CV13-5913 MRP(PJWx)
                    INTERNATIONAL S.A.R.L.,
                 12                                           NOTICE OF RELATED CASES
                            Plaintiff,
                 13     v.                                    [LOCAL RULE 83-1.3.1]
                 14 DOES 1 through 10, d/b/a
                    “pornhub4all.com”; “video-
                 15 pornhub.com”; “pornhub.com.bz”;
                    “pornhub.net.co”; “pornhub4u.com”;
                 16 “pornhub2.net”; “hd-pornhub.com”;
                    “your-pornhub.com”; “pornhub-
                 17 xx.com”; “hq-pornhub.com”;
                    “freepornhub.net”; “rawpornhub.com”;
                 18 “pornhubhd.com”; “pornhub.pl”;
                    “pornhub.de”; “pornhub.co”;
                 19 “pornhub.cm”; “pornhub.cz”;
                    “pornhube.com”; “pornhubs.com”;
                 20 “pronhub.com”; “pormhub.com”;
                    “pornhub.it”; “pornhub.eu”;
                 21 “pornhub.net”; “pornhub.org”;
                    “pornhub.fr”; “pornhub.es”;
                 22 “pornhub.co.uk”; “pornhub.ru”;
                 23              Defendants.
                 24
                 25
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                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
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                 Case 2:13-cv-05913-JAK-CW Document 5 Filed 08/19/13 Page 2 of 4 Page ID #:4



                  1         TO THE DISTRICT COURT, ALL PARTIES, AND THEIR ATTORNEYS
                  2 OF RECORD:
                  3
                  4         Pursuant to Local Rule 83-1.3.1, Plaintiff Manwin Licensing International
                  5 S.à.r.l. (“Manwin”) submits this Notice of Related Cases. The following three
                  6 cases, including the instant action, which were filed on August 13, 2013 in the
                  7 Central District of California, are all related:
                  8
                  9         1.    MANWIN LICENSING INTERNATIONAL S.A.R.L., v. DOES 1
                 10 through 10, d/b/a “hdtube8.com”; “tube81.biz”; “new-tube8.com”;
                 11 “goldtube8.com”; “tube8now.com”; “tube8free.net”; “astube8.com”;
                 12 “porntube8.net”; “8tube.me”; “xxxtube8.com”; “8porntubes.com”;
                 13 “flixtube8.com”; “tube8japanese.com”; “videostube8.com”; “tube8.co”;
                 14 “tube8.cm”; “tube8.net”; “tube8.de”; “tube8.es”; “tube8.it”; “tube8.co.uk”;
                 15 “tube8.fr”; “tube8.pt”; “tube8.su”, CV13-05911-JAK(CWx).
                 16
                 17         2.    MANWIN LICENSING INTERNATIONAL S.A.R.L. v. DOES 1
                 18 through 10, d/b/a “pornhub4all.com”; “video-pornhub.com”; “pornhub.com.bz”;
                 19 “pornhub.net.co”; “pornhub4u.com”; “pornhub2.net”; “hd-pornhub.com”; “your-
                 20 pornhub.com”; “pornhub-xx.com”; “hq-pornhub.com”; “freepornhub.net”;
                 21 “rawpornhub.com”; “pornhubhd.com”; “pornhub.pl”; “pornhub.de”; “pornhub.co”;
                 22 “pornhub.cm”; “pornhub.cz”; “pornhube.com”; “pornhubs.com”; “pronhub.com”;
                 23 “pormhub.com”; “pornhub.it”; “pornhub.eu”; “pornhub.net”; “pornhub.org”;
                 24 “pornhub.fr”; “pornhub.es”; “pornhub.co.uk”; “pornhub.ru”, CV13-5913
                 25 MRP(PJWx).
                 26
                 27         3.    MANWIN LICENSING INTERNATIONAL S.A.R.L. v. DOES 1
    Mitchell     28 through 10, d/b/a “youporn-tube.us”; “youporn.com.bz”; “youhotporn.com”;
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   Knupp LLP
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                 Case 2:13-cv-05913-JAK-CW Document 5 Filed 08/19/13 Page 3 of 4 Page ID #:5



                  1 “mega-youporn.cc”; “youporn.tv”; “youporn.mobi”; “youpornx.tv”;
                  2 “justyouporn.com”; “hq-youporn.com”; “goyouporn.com”;
                  3 “youpornhubvids.com”; “youporns.org”; “youporn.com.es”; “youpornmovie.net”;
                  4 “youporn.co”; “youporno.com”; “youporn.ru”; “youporn.cm”; “youporn.info”;
                  5 “youporn.co.uk”; “youporn.com.au”; “you-porn.de”; “youporn.es”; “youporn.fr”;
                  6 “youporn.lu”; “youporn.name”; “youporn.net”; “youporn.org”; “youporn.pt”,
                  7 CV13-5914-MMM(PJWx).
                  8
                  9         Plaintiff Manwin Licensing International S.à.r.l. (“Manwin”) has filed each
                 10 of the three cases listed above to enforce Manwin’s rights in its valuable
                 11 trademarks and domain names. Specifically, each of the three complaints alleges
                 12 that Defendants committed unlawful cybersquatting and violated the Anti-
                 13 Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d). By each of these
                 14 three actions, Manwin seeks to put an immediate stop to, and to obtain redress for,
                 15 Defendants’ massive campaigns of cybersquatting and misappropriation of
                 16 Manwin’s valuable TUBE8, PORNHUB, and YOUPORN trademarks. In each of
                 17 the three cases, Defendants have registered the vast majority of their infringing
                 18 domain names using privacy services to conceal their identities. Therefore,
                 19 Manwin was unable to determine Defendants’ true identities and sued them under
                 20 the fictitious names Does 1-10. In each of the three cases, Manwin intends to file
                 21 ex parte applications for expedited discovery to determine Defendants’ identities.
                 22         In light of the foregoing, the three cases are related because (a) they arise
                 23 from closely related transactions – namely the anonymous registration of
                 24 competing websites that infringe Manwin’s rights in its valuable trademarks and
                 25 domain names (L.R. 83-1.3.1(a)), and (b) the three cases therefore call for the
                 26 determination of substantially related questions of law and fact, most immediately
                 27 regarding Manwin’s forthcoming ex parte applications for expedited discovery to
    Mitchell     28 determine Defendants’ true identities (L.R. 83-1.3.1(b)). For these reasons,
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                  1 assignment of the three cases to the same judge would further the interests of
                  2 judicial economy.
                  3
                  4 DATED: August 19, 2013               MARC E. MAYER
                                                         EMILY F. EVITT
                  5                                      MITCHELL SILBERBERG & KNUPP LLP
                  6
                  7                                      By:/s/ Emily F. Evitt
                  8                                            Emily F. Evitt
                                                               Attorneys for Plaintiff
                  9                                            Manwin Licensing International S.à.r.l.

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